  Case 1:22-mc-03696-HG-PK Document 13-2 Filed 09/28/22 Page 1 of 2 PageID #: 266
                                                   Tuesday, September 27, 2022 at 09:20:10 Central Daylight Time


Subject:    Re: Subpoena to Dr. Yee
Date:       Wednesday, January 19, 2022 at 8:51:19 AM Central Standard Time
From:       Yitz Kopel
To:         Cal Mayo
CC:         Alec Leslie
ADachments: image001.png

Cal:

We will seek to protect these documents as privileged. I will be emailing defense counsel and copying you shortly
regarding this dispute. In the meanOme, please do not produce any communicaOons between me and Dr. Yee unOl
this is resolved.

Yitz


On Tue, Jan 18, 2022 at 5:04 PM Cal Mayo <cmayo@mayomalleUe.com> wrote:

  Yitz and Alec,

  AUached are documents responsive to request No. 14 in the subpoena. I am not aware of any privilege or
  immunity which pertains to these communicaOons from Dr. Yee’s perspecOve. However, you or your client may
  have an interest in protecOng the communicaOons. If so, please understand that Dr. Yee intends to produce these
  documents, and you should take appropriate steps to quash the subpoena or otherwise obtain protecOon from the
  Court if you deem such acOon necessary and appropriate to protect your interests or your client’s interests in these
  documents.

  Cal

                                 J. Cal Mayo, Jr.
                                 Mayo Mallette
                                 Oxford & Jackson Offices

                                 E: cmayo@mayomallette.com
                                 O: 662.236.0055 J: 601.366.1106
                                 D: 662.513.4897 C: 662.801.3837
                                 2094 Old Taylor Road, Suite 200 | Oxford, MS 38655
                                 4400 Old Canton Road, Suite 150 | Jackson, MS 39211
                                 mayomallette.com




--
Yitz Kopel
Bursor & Fisher, P.A.
888 Seventh Ave.
New York, NY 10019
646-837-7127 (tel)
212-989-9163 (fax)
ykopel@bursor.com
www.bursor.com

PRIVILEGED COMMUNICATION                                    "B"

                                                                                                                 Page 1 of 2
  Case 1:22-mc-03696-HG-PK Document 13-2 Filed 09/28/22 Page 2 of 2 PageID #: 267


This email may contain conﬁdenOal material or other maUer protected by the aUorney-client privilege. Unless you
are the addressee (or are authorized to receive this email for the addressee), you may not copy, use or distribute it. If
you receive this email in error, please contact the sender immediately and permanently delete the email from any
and all storage devices under your control.




                                                                                                                     Page 2 of 2
